   Case 1:20-cr-00073-TSE Document 10 Filed 06/26/20 Page 1 of 6 PageID# 28




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                                          FILED
                                                                                      IN OPEN COURT
                             EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division                     4

UNITED STATES OF AMERICA                        )
                                                )
       V.                                       ) Criminal No. 1:20-cr-73
                                                )
THOMAS RICHARD GALLAWAY,                        ) The Hon. T.S. Ellis, III
                                                )
       Defendant.                               )

                                   STATEMENT OF FACTS


       The United States and the defendant, THOMAS RICHARD GALLAWAY (hereinafter

"the Defendant") agree that the allegations in the Criminal Information and the following facts

are true and correct, and that had the matter gone to trial the United States would have proven

them beyond a reasonable doubt:

       1.      Between in and around September 2015 and continuing through in and around

April 2016, in Fairfax County, Virginia, within the Eastern District of Virginia and elsewhere,

the Defendant, did unlawfully, knowingly, and intentionally combine, conspire, confederate, and

agree with Jimmy Oliver Zeigler II, Kimberly Roxann Braun, Kallie Ann Sack, and other

persons, both known and unknown,to unlawfully, knowingly, and intentionally distribute fifty

(50) grams or more of methamphetamine, a Schedule II controlled substance, in violation of Title

21, United States Code, Sections 841(a)(1) and 846.

       2.      Beginning in 2015, the Defendant began traveling to California to obtain large

quantities of methamphetamine from different sources of supply in Los Angeles and San Diego,

California. On these trips, the Defendant regularly purchased multiple pounds of

methamphetamine from different sources of supply. The Defendant would then ship the
Case 1:20-cr-00073-TSE Document 10 Filed 06/26/20 Page 2 of 6 PageID# 29
Case 1:20-cr-00073-TSE Document 10 Filed 06/26/20 Page 3 of 6 PageID# 30
Case 1:20-cr-00073-TSE Document 10 Filed 06/26/20 Page 4 of 6 PageID# 31
Case 1:20-cr-00073-TSE Document 10 Filed 06/26/20 Page 5 of 6 PageID# 32
Case 1:20-cr-00073-TSE Document 10 Filed 06/26/20 Page 6 of 6 PageID# 33
